          Case 2:18-cr-00687-JMV Document 96 Filed 12/18/19 Page 1 of 1 PageID: 143
                                 UNITED STATED DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
                                    MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                            DATE: 12/18/19
JUDGE: JOHN MICHAEL VAZQUEZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:                                            DOCKET# 18-687

UNITED STATES OF AMERICA
           vs.

Melissa Reynolds


APPEARANCES:

Anthony Moscato, AUSA
Lakshmi Herman, AUSA
Robert DeGroot, Esq. for Defendant
Oleg Nekritin, Esq. for Defendant
Kimberly Artist, Probation Officer
Defendant present.

Nature of Proceedings: SENTENCING ON Count One

Imprisonment – 1 year and 1 day
Supervised Release – 5 years
Special conditions: new debt restrictions, financial disclosure, supporting dependents, etc.
Restitution: $587,080.99 interest waived
Forfeiture: $ 548,242.00
Special Assessment - $100.00 due immediately.
Defendant advised of right to appeal.
Fine waived.
Recommendation to a FCI camp as close to the defendant’s residence as possible.
Defendant to self-surrender upon designation.


Time Commenced: 11:00
Time Adjourned: 12:30
Total Time: 1:30


                                                 RoseMarie Olivieri
                                                 SENIOR COURTROOM DEPUTY
